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UNITED STATES JUDICIAL PANEL
on

MULTIDISTRICT LITIGATION

 

IN RE: TRIBUNE COMPANY FRAUDULENT
CONVEYANCE LITIGATION MDL No. 2296

TRANSFER ORDER

Before the Panel:’ Pursuant to 28 U.S.C. § 1407, plaintiffs in all 44 actions move for coordinated
or consolidated pretrial proceedings of the 44 actions listed on Schedule A in the Southern District of New
York.' Of the more than 1,700 former Tribune Co. (Tribune) shareholder defendants in these actions,
approximately 385 support or do not oppose centralization. Less than 100 defendants oppose the motion.

On the basis of the papers filed and hearing session held, we find that these 44 actions involve
common questions of fact, and that centralization in the Souther District of New York will serve the
convenience of the parties and witnesses and promote the just and efficient conduct of this litigation. All
actions arise out of the Tribune’s 2007 leveraged buyout (LBO), its 2008 Chapter 11 bankruptcy filing, and
the impact of the LBO and bankruptcy on the Tribune’s creditors. Centralization will eliminate duplicative

discovery, prevent inconsistent pretrial rulings, and conserve the resources of the parties, their counsel and
the judiciary.

Some opposing former shareholder defendants argue that unique questions of fact in each action
predominate over any common factual questions. While each action, indeed, will involve some individual
questions of fact as to each defendant relating to the Tribune shareholder transfers, all actions involve
numerous common factual questions arising from the LBO. Discovery and other pretrial proceedings will
focus on the same series of events. Motions to dismiss likely will be similar in these actions. In any event,

 

At oral argument, it was announced that more than three Panel members have interests which
would normally disqualify them under 28 U.S.C. § 455 from participating in the decision of this
matter. Accordingly, the Panel invoked the Rule of Necessity and all Panel members participated in
the decision of this matter in order to provide the forum created by the governing statute, 28 U.S.C.
§ 1407. See In re Adelphia Communications Corp. Sec. & Derivative Litig., 273 F. Supp. 2d 1353
(J.P.M.L. 2003) ; In re Wireless Telephone Radio Frequency Emissions Prods. Liab. Litig., 170 F.
Supp. 2d 1356 (J.P.M.L. 2001).

' The parties have notified the Panel that six potentially related actions are pending in six districts.
In four of these actions, Tribune retiree plaintiffs support this Section 1407 motion and urge inclusion
of their actions in this MDL. Some responding parties also urge inclusion of a Tribune adversary
action brought by The Official Committee of Unsecured Creditors (Committee) in these MDL
proceedings. The Committee filed a response opposing inclusion at this time. These actions are
potential tag-along actions and will be considered in due course. See Panel Rules 1.1(h), 7.1 and 7.2.
 

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Section 1407 does not require a complete identity or even a majority of common factual issues as a
prerequisite to centralization. Jn re Denture Cream Prods. Liab. Litig., 624 F. Supp. 2d 1379
(J.P.M.L.2009); In re Phenylpropanolamine (PPA) Prods. Liab. Litig., 173 F. Supp. 2d 1377
(J.P.M.L.2001). Transferee judges can accommodate common and individual discovery tracks, gaining the
benefits of centralization without delaying or compromising consideration of claims on their individual
merits. In re: Yamaha Motor Corp. Rhino ATV Prods. Liab. Litig., 597 F. Supp. 2d 1377 (J.P.M.L.2009).

Opposing former shareholder defendants also have voiced a concern that many of them are
individuals or small entities and centralization will be inconvenient for them and increase their litigation
costs. Panel Rule 2.1(c), however, provides that “[a]ny attomey ofrecord in any action transferred under
Section 1407 may continue to represent his or her client in any district court of the United States to which
such action is transferred. Parties are not required to obtain local counsel.” Coordination in the transferee
court will not prevent any required depositions of, or any other discovery unique to, the opposing
defendants from occurring in their home districts. In re Yamaha Motor Corp. Rhino ATV Prods. Liab.
Litig., 597 F. Supp. 2d 1377, 1378. The use of liaison counsel, lead counsel and steering committees also
will eliminate the need for most counsel ever to travel to the transferee district. In addition, prudent counsel
likely will combine their forces and apportion their workload in order to streamline the efforts of the parties,
their counsel and the judiciary. This streamlining combined with uniform case management will lead to an
overall savings in transaction costs. Given the number of pending actions, centralization likely will result
in a significant savings of time and money for the parties and the courts. Jn re Lawnmower Engine
Horsepower Mktg. and Sales Practices Litig., 588 F.Supp.2d 1379 (J.P.M.L. Dec. 2008).

Lastly, opposing defendants argue that centralization of these 44 actions is premature and should
await (1) service on each defendant; (2) rulings on pending or anticipated motions to dismiss in each action;
or (3) the bankruptcy court’s confirmation of Tribune’s reorganization plan. We disagree. Defendants can
raise jurisdiction and other objections in the transferee district. To the extent that many complaints may
be subject to several of the same grounds for dismissal, having these motions decided by a single judge will
be the most efficient way to resolve them. Jn re Darvocet, Darvon & Propoxyphene Prods. Liab. Litig.,
780 F. Supp. 2d 1379 (J.P.M.L. 2011). Centralization at this time also will streamline coordination
between these 44 actions and the Delaware bankruptcy proceedings. In re Refco Sec. Litig., 530 F. Supp.
2d 1350 (J.P.M.L. 2007).

Given the wide dispersal of these actions across the country, no forum stands out as a focal point
for this litigation. We are persuaded that the Southern District of New York is an appropriate transferee
district for this litigation, because (1) documents and witnesses likely are located there, and (2) this district
is a convenient and accessible forum for most parties. Judge Richard J. Holwell is an experienced judge
who we are confident will steer these cases on a fair and expeditious course.

IT IS THEREFORE ORDERED that pursuant to 28 U.S.C. § 1407, the actions listed on Schedule
A and pending outside the Southern District of New York are transferred to the Southern District of New
York and, with the consent of that court, assigned to the Honorable Richard A. Holwell for coordinated
or consolidated pretrial proceedings in that district.
 

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PANEL ON MULTIDISTRICT LITIGATION

SA: Mab“

Johy¥ G. Heyburn tf
Chairman

Kathryn H. Vratil W. Royal Furgeson, Jr.
Barbara S. Jones Paul J. Barbadoro
Marjorie O. Rendell Charles R. Breyer
 

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IN RE: TRIBUNE COMPANY FRAUDULENT
CONVEYANCE LITIGATION

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SCHEDULE A

District of Arizona

Deutsche Bank Trust Company Americas, et al. v.
C.A. No. 2:11-01110

Northern District of California

 

Deutsche Bank Trust Company Americas, et al. v.
C.A. No. 3:11-02646

Deutsche Bank Trust Company Americas, et al. v.
C.A. No. 3:11-02661

Deutsche Bank Trust Company Americas, et al. v.
C.A. No. 4:11-02634

District of Connecticut

Deutsche Bank Trust Company Americas, et al. v.
Corporation, et al., C.A. No. 3:11-00894
Deutsche Bank Trust Company Americas, et al.

District of Delaware

Deutsche Bank Trust Company Americas, et al. v.
C.A. No. 1:11-00609

Deutsche Bank Trust Company Americas, et al. v.
et al., C.A. No. 1:11-00612

Deutsche Bank Trust Company Americas, et al. v.
Corporation, et al., C.A. No. 1:11-00613

Deutsche Bank Trust Company Americas, et al. v.
C.A. No. 1:11-00618

Deutsche Bank Trust Company Americas, et al.
C.A. No. 1:11-00638

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District of District of Columbia

 

Deutsche Bank Trust Company Americas, et al. v.
C.A. No. 1:11-01024

Peter W. King, et al.,

AG Edwards & Sons, et al.,
Wells Fargo Bank, N.A., et al.,

First Republic Bank, et al.,

Sirius International Insurance

v. Aetna, Inc., et al, C.A. No. 3:11-00895

Wells Fargo Investments LLC,
Alliance Capital Management LLC,
Verizon Investment Management

Sowood Alpha Fund LP, et al.,

. RBS Securities Inc., et al.,

Janice Williams Anderson, et al.,
 

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MDL No. 2296 Schedule A (Continued)

Southern District of Florida

 

Deutsche Bank Trust Company Americas, et al. v. Waterman Broadcasting Corporation,
et al., C.A. No. 1:11-22007

Northern District of Illinois

 

Deutsche Bank Trust Company Americas, et al. v. 1994 Alicia P. Guggenheim,
C.A. No. 1:11-03750
Deutsche Bank Trust Company, et al. v. Ohlson Enterprises, et al., C.A. No. 1:11-03754

Southern District of Indiana

 

Deutsche Bank Trust Company Americas, et al. v. 1st Source Bank, et al.,
C.A. No. 1:11-00746

Deutsche Bank Trust Company Americas, et al. v. Robert Dishon Family Trust, et al.,
C.A. No. 1:11-00749

District of Maryland

Deutsche Bank Trust Company Americas, et al. v. Janice M. McGurn, et al.,
C.A. No. 8:11-01510

Deutsche Bank Trust Company Americas, et al. v. National Electrical Benefit Fund, et al.,
C.A. No. 8:11-01512

District of Massachusetts

Deutsche Bank Trust Company Americas, et al. v. Anne G. Taylor, et al.,
C.A. No. 1:11-10982

Deutsche Bank Trust Company Americas et al v. Eaton Vance Multi Cap Growth Portfolio,
et al., C.A. No. 1:11-10985

District of Minnesota

Deutsche Bank Trust Company Americas, et al. v. Ameriprise Trust Co., et al.,
C.A. No. 0:11-01451
Deutsche Bank Trust Company Americas, et al. v. U.S. Bank, N.A., C.A. No. 0:11-01452
Deutsche Bank Trust Company Americas, et al. v. Pandora Select Partners LP, et al.,
C.A. No. 0:11-01453
 

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MDL No. 2296 Schedule A (Continued)

District of New Jersey

Deutsche Bank Trust Company Americas, et al. v. Sumitomo Trust & Banking Co. (U.S.A.),
et al., C.A. No. 2:11-03147

Deutsche Bank Trust Company Americas, et al. v. Merrill Lynch Trust Company, et al.,
C.A. No. 2:11-03148

Western District of North Carolina

 

Deutsche Bank Trust Company Americas, et al. v. The Burroughs Wellcome Fund, et al.,
C.A. No. 3:11-00266

Deutsche Bank Trust Company Americas, et al. v. Aqua America-Gabelli Asset Met,
et al., C.A. No. 3:11-00268

Southern District of New York

 

Deutsche Bank Trust Company Americas, et al. v. Abu Dhabi Investment Authority,
et al., C.A. No. 1:11-04522

Deutsche Bank Trust Company, Americas, et al. v. Adaly Opportunity Fund TD
Securities Inc. C/O Adaly Investment Management Co., et al, C.A. No. 1:11-04784

Deutsche Bank Trust Company Americas, et al. v. Cantor Fitzgerald & Co., et al.,
C.A. No. 1:11-04900

Deutsche Bank Trust Company Americas, et al. v. CIBC World Markets Corp., et al.,
C.A. No. 1:11-05136

Southern District of Ohio

Deutsche Bank Trust Company Americas, et al. v. American Electric Power, et al.,
C.A. No. 1:11-00358

Deutsche Bank Trust Company Americas, et al. v. Goodrich Corp. MAS TR QUAL EMPL
BEN, et al., C.A. No. 1:11-00359

Deutsche Bank Trust Company Americas, et al. v. Huntington National Bank, et al.,
C.A. No. 1:11-00361

Eastern District of Pennsylvania

 

Deutsche Bank Trust Company Americas, et al. v. Ametek Inc. Employees Master
Retirement Trust, et al., C.A. No. 5:11-03569

Deutsche Bank Trust Company Americas, et al. v. ING Trust Equity Inc. Port, et al.,
C.A. No. 5:11-03570
 

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MDL No. 2296 Schedule A (Continued)

Northern District of Texas

Deutsche Bank Trust Company Americas, et al. v. Employees Retirement Fund of the City
of Dallas, et al., C.A. No. 3:11-01167

Deutsche Bank Trust Company Americas v. Bank of America NA/Gwim Trust Operations,
et al., C.A. No. 3:11-01175

District of Vermont

Deutsche Bank Trust Company Americas, et al. v. George H. Long, et al.,
C.A. No. 2:11-00144

Eastern District of Virginia

 

Deutsche Bank Trust Company Americas, et al. v. Richard M. Ader, et al.,
C.A. No. 1:11-00601

Western District of Washington

 

Deutsche Bank Trust Company Americas v. Automotive Machinists Pension Trust Fund,
et al., C.A. No. 2:11-00925

Western District of Wisconsin

 

Deutsche Bank Trust Company Americas, et al. v. Associated Bank Green Bay, NA,
et al., C.A. No. 3:11-00396
Deutsche Bank Trust Company Americas, et al. v. Howard E. Mazur, C.A. No. 3:11-00400
